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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 TRUSTEES OF THE DISTRICT COUNCIL NO. 9
 PAINTING INDUSTRY INSURANCE FUND, et al.,
                                                                               ORDER
                                             Plaintiffs,
                                                                           No. 20-CV-7576
          - against -

 SIGN ACQUISITION CORPORATION,

                                              Defendant.
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Seibel, J.

       Pursuant to my Emergency Individual Rules and Practices in Light of COVID-19, last
revised September 1, 2020, all parties to civil conferences shall attend by phone, using the
following information:

        Toll-Free Number: (877) 336-1839
        Access Code: 1047966

        The parties should call in from a landline, announce their names before speaking, and
mute their lines when not speaking. This Order is subject to revocation at any time.

         Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court-issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the court.

SO ORDERED.

Dated: November 9, 2020
       White Plains, New York
                                                              ______________________________
                                                                  CATHY SEIBEL, U.S.D.J.
